                                                                                          Judge: Christopher M. Alston
                                                                                          Chapter: 13
                                 IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
    1
        In Re:                                                 IN CHAPTER 13 PROCEEDING
    2                                                          NO. 13-18951
        MARK L HAMPTON,
    3
                                                               NOTICE OF FINAL CURE PAYMENT
    4
                                             Debtor.
    5
            PLEASE TAKE NOTICE THAT THE AMOUNT REQUIRED TO CURE THE DEFAULT ON
    6
        THE FOLLOWING CLAIM SECURED BY A SECURITY INTEREST IN DEBTOR'S PRINCIPAL
    7
        RESIDENCE HAS BEEN PAID IN FULL:
    8
                           TO:                    Seterus Inc
    9
                           Court Claim No.:       5
   10   This Notice is made pursuant to Fed. R. Bankr. P. 3002.1.

   11       WITHIN 21 DAYS OF THE SERVICE OF THIS NOTICE, YOU MUST FILE AND SERVE ON

   12   THE DEBTOR, DEBTOR'S COUNSEL AND THE TRUSTEE A STATEMENT INDICATING (1)

   13   whether you agree that the debtor has paid in full the amount required to cure the default and (2) whether,

   14   consistent with 11 U.S.C. § 1322(b)(5), the debtor is otherwise current on all payments. If applicable, the

   15   statement shall itemize any required cure or post-petition amounts that you contend remain unpaid as of the date

   16   of the statement. The statement shall be filed as a supplement to the proof of claim and is not subject to Fed. R.

   17   Bankr. P. 3001(f).

   18       IF YOU FAIL TO PROVIDE THE STATEMENT AND INFORMATION AS REQUIRED, the Court

   19   may, after notice and hearing, take either or both of the following actions: (1) Preclude you from presenting the

   20   omitted information, in any form, as evidence in any hearing or submission in any contested matter or adversary

   21   proceeding in the case, unless the Court determines that the failure was substantially justified or is harmless; or (2)

   22   Award other appropriate relief, including reasonable expenses and attorney's fees caused by the failure.
                   Dated: December 18, 2018
   23                                                                          /s/ Jason Wilson-Aguilar
   24                                                                          Jason Wilson-Aguilar, WSBA #33582
                                                                               Chapter 13 Trustee
   25
   26                                                                                        Chapter 13 Trustee
        NOTICE OF FINAL CURE PAYMENT                                                      600 University St. #1300
                                                                                              Seattle,WA 98101
CM166                                                                                 (206) 624-5124 Fax:(206) 624-5282
         Case 13-18951-CMA             Doc 48      Filed 12/18/18      Ent. 12/18/18 14:01:50           Pg. 1 of 1
